Case 2:18-cv-00418-SPC-MRM Document 48 Filed 06/10/20 Page 1 of 3 PageID 367



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

RAYVON L. BOATMAN,

                  Plaintiff,

v.                                                          Case No.: 2:18-cv-418-FtM-38MRM

DONALD SAWYER, REBECCA
JACKSON, M. JOHNSON, JOHN
DOE HERNANDEZ, JANE DOE
MORRIS, GEO GROUP, INC.
DIRECTORS, CORRECT CARE
RECOVERY SOLUTIONS
DIRECTORS, THE DEPARTMENT
OF CHILDREN AND FAMILY
SERVICE, THE FLORIDA CIVIL
COMMITMENT CENTER
DIRECTORS, MALINDA MASTERS,
JORGE DOMENICI, WILLIAM H.
JAYNES, DALE W. FRICK, LAURA
K. LEONARD, DOROTHY RIDDLE
and SARAH SENTER,

                Defendants.
                                                 /

                                      OPINION AND ORDER1

        Before the Court is Plaintiff Rayvon Boatman’s Motion for Miscellaneous Relief

Specifically for an Order (Doc. 46) and Plaintiff’s Motion for Extension of Time to Amend.

(Doc. 47). No response in opposition was filed.




1 Disclaimer: Documents hyperlinked to CM/ECF are subject to PACER fees. By using hyperlinks, the
Court does not endorse, recommend, approve, or guarantee any third parties or the services or products
they provide, nor does it have any agreements with them. The Court is also not responsible for a hyperlink’s
availability and functionality, and a failed hyperlink does not affect this Order.
Case 2:18-cv-00418-SPC-MRM Document 48 Filed 06/10/20 Page 2 of 3 PageID 368



       Plaintiff moves the Court for clarification of the Court’s Order dismissing his

Amended Complaint (Doc. 40) and requests an extension of time to amend. Plaintiff’s

Motion is not a model of clarity, its pieced together from several previous motions, and

consists of repeated allegations from his Amended Complaint. The case was dismissed

so no extension of time may be granted. As to the request for clarification, the Court

found Plaintiff’s Amended Complaint (Doc. 26) to be a shotgun pleading that failed to

state a claim upon which relief could be granted. The Court gave Plaintiff leave to amend

and bring only a claim for retaliation, but he failed to do so within the Court’s deadline.

Plaintiff’s case was therefore, dismissed under M.D. Fla. R. 3.10(a) for failure to

prosecute. (Doc. 44). Even so, Plaintiff’s Amended Complaint was dismissed without

prejudice so Plaintiff can pursue his claims by filing a new case.

       As for Plaintiff’s Motion for an Extension of Time to Amend, (Doc. 47) this case

was dismissed (Doc. 44) and judgment was entered. (Doc. 45). Because this case has

been dismissed no relief shall be granted.

       Accordingly, it is now

       ORDERED:

       1. Plaintiff Rayvon Boatman’s Motion for Miscellaneous Relief Specifically for an

          Order is GRANTED in part and DENIED in part.

              a. Plaintiff’s Motion for Clarification (Doc. 46) is GRANTED as detailed

                 above.

              b. Plaintiff’s Motion for Extension of Time (Doc. 46) is DENIED.




                                             2
Case 2:18-cv-00418-SPC-MRM Document 48 Filed 06/10/20 Page 3 of 3 PageID 369



      2. Plaintiff’s Motion for an Extension of Time to Amend (Doc. 47) is DENIED and

         STRICKEN. The Clerk of Court shall remove the Motion and return the filing

         along with a copy of this Order to Plaintiff.

      DONE and ORDERED in Fort Myers, Florida this 9th day of June 2020.




SA: FTMP-2
Copies: All Parties of Record




                                            3
